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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    IN RE:                                              CASE NO. C20-0282-JCC
      WYZE DATA INCIDENT LITIGATION
10
                                                          MINUTE ORDER
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15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on Plaintiffs’ motion for reconsideration (Dkt. No.
18   50). Finding good cause, the Court hereby ORDERS Defendant to respond to Plaintiffs’ motion
19   for reconsideration. Defendant shall file a single response brief of no more than five (5) pages,
20   excluding certificates of service, no later than November 16, 2020.
21          The Clerk is DIRECTED to renote Plaintiffs’ motion for reconsideration (Dkt. No. 50) to
22   November 16, 2020.
23          DATED this 6th day of November 2020.
24                                                          William M. McCool
                                                            Clerk of Court
25

26                                                          s/Paula McNabb
                                                            Deputy Clerk

     MINUTE ORDER
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